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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 GINA SPEARMAN,

        Plaintiff.
                                                    Case No. 1:20 -cv -0498 I -CAP
 v.

 BROKER SOLUTIONS, INC., d /bia
 NEW AMERICAN FUNDING,

        Defendant.


      PLAINTIFF'S OBJECTIONS AND RESPONSES TO DEFENDANT'S
          FIRST INTERROGATORIES DIRECTED TO PLAINTIFF

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff

Gina Spearman ("Plaintiff") sets forth herein the following responses and objections

to Defendant's First Interrogatories ("Interrogatories ") Directed to Plaintiff dated

June 10, 2021.

       No incidental or implied admissions are intended in these Responses.

Plaintiff's Response to all or any part of the RI-Ps should not be taken as an

admission that (I ) Plaintiff accepts or admits the existence of any fact(s) set forth or

assumed by the Interrogatories: (2) Plaintiff has possession, custody or control of

information responsive to that Interrogatory; or (3) documents exist that arc

responsive to the Interrogatories.
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Plaintiffs Responses arc based upon, and therefore limited by, Plaintiffs present
knowledge, recollection, and access to information. Plaintiff has not completed her
investigation of facts relevant to this case, discovery in the action, or preparation for

trial. Plaintiff reserves the right to revise these Responses as additional facts become

available. Plaintiffs Response to all or any part of any Interrogatory is not intended
to be, and shall not be, a waiver by Plaintiff of all or any part of any objection(s) to

that Interrogatory. To the extent that paragraphs six through ten of Defendant's
"Definitions and Instructions" ns purport to impose obligations greater than or
different from those imposed by the Federal Rules of Civil Procedure or other
applicable law, Plaintiff objects to said paragraphs and will respond in accordance
with the duties imposed by the Federal Rules of Civil Procedure. Plaintiff also notes

that Defendant's Interrogatories contain impermissible subparts and will respond to
the number of Interrogatories permitted by the Federal Rules of Civil Procedure.
   PLAINTIFF'S RESPONSES AND OBJECTIONS TO DEFENDANT'S
       FIRST INTERROGATORIES DIRECTED TO PLAINTIFF

INTERROGATORY NO. I: Describe in detail your Override Bonus compensation

during your employment with NAF. including but not limited to (1) the categories

of Override Bonuses you received from NAF by the type of loan /transaction closed

(including dates and amounts received); and (2) the specific Override Bonuses you

did not receive from NAF that you allege you were entitled to receive.

      ANSWER: Plaintiff objects to this Interrogatory to the extent that this

information is specifically within Defendant's knowledge and possession.


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Subject to and without waiving the foregoing, Plaintiff states she was paid

Override Bonuses on some loans during her employment with Defendant.

However, there were loans excluded for which Plaintiff was not paid an

Override Bonus in accordance with her employment agreement. The list of each

type of loan for which an Override Bonus was paid and those that were
excluded from override were maintained by Defendant and provided by
Defendant on a monthly basis in a report called the "Monthly Recap" which

Defendant has in its possession.       The categories of Override Bonuses are

described in paragraph 3 of the Letter Offer Contract and paragraph 1.4A,

1.4B and 1.4C of Schedule 1 Regional Manager Compensation Details. See also

documents Plaintiff is producing in response to Request for Production No. 1

which identifies these categories.

INTERROGATORY NO. 2: Other than the Override Bonus categories listed in

Paragraph I .4B of Schedule 1. describe in detail any other categories of Override

Bonuses you did not receive from NAF from November 2016 to the present that you

allege you were entitled to receive.

      ANSWER: In addition to the categories of loans provided in 1.4B,
Plaintiff states that she was not paid on loans described in schedule I.4C and

1.4A. Furthermore, her o%erall pay was reduced by certain Pricing Exceptions
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and Marketing Costs beginning in March 2019 and lasting through March

2020.

INTERROGATORY NO. 3: Describe in detail the marketing costs compensation

(or reimbursement) you received during your employment with NAF, including (I )

the dates and amounts received; (2) how you received such compensation (e.g.,

either by reimbursement of amounts expended by you or by direct payment of

marketing expenses by NAF); and (3) any changes communicated to you by NAF

regarding the amounts of marketing costs that NAF would pay and /or reimburse you

(including when and how Plaintiff was notifiedof any change; by whom you were

notified of any change: and the substance of each change).

        ANSWER: Plaintiff states that Defendant agreed to a marketing budget

equal to 7.5 Basis Points of the region's monthly production. Defendant paid

marketing costs submitted by Plaintiff and her Co- Regional Manager until

March 2019. After Niarch 2019, Defendant deducted marketing costs from

Plaintiff's compensation in the Monthly Recap reports.

        Defendant is in possession of all marketing related payments and expense

reports reflecting this information.

        In February of 2019 Plaintiff was verbally notified at a leadership

meeting by Christy Bunce and .ton Reed that Defendant was experiencing a

major financial hardship due to a misallocation of thirty (30) million dollars,


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and that Defendant would no longer hay or reimburse for any marketing costs.

After February 2019 through her resignation, Plaintiff continued to submit

marketing invoices to NAF which it paid but then deducted from Plaintiff's

compensation in t he Monthly Recap reports.

INTERROGATORY NO. 4: For any marketing costs compensation you contend

that you are owed, itemize (I ) the amount of each specific expense; (2) when any

such expense was incurred; (3) whether you sought approval for such expense and,

if so, from whom: and (4) all documents reflecting such expense.

      ANSWER: All Marketing Expenses were approved by Defendant's

Marketing Compliance. Defendant is in possession of all records pertaining to

expenses Defendant paid and withheld from Plaintiff's compensation. These

marketing expenses are itemized in the Monthly Recap reports for each month

of Plaintiff's employment.      See also Plaintiff's response to Request for

Production No. I which itemizes these marketing costs.

INTERROGATORY NO. 5: Describe in detail the Pricing Exception compensation

Plaintiff received (luring your employment with NAF, including (1) dates and

amounts received: (2) the process by which Pricing Exceptions were negotiated;

(3) whether any loan or transaction would have been approved absent the Pricing

Exception: (4) any changes to how Pricing Exceptions would be negotiated or

approved ( including when and how you were notified of any changes; by whom you
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were notified of any change; the amount reduced; and when the reduction applied

(ex. what "tolerance" needed to be exceeded for Plaintiff to have to "absorb" the

Pricing Exception)); and (5) whether NAF required Plaintiff to offer loans with

Pricing Exceptions that Plaintiff potentially would have to absorb.

      ANSWER: Plaintiff objects to this Interrogatory to the extent it requires

Plaintiff to speculate as to what NAF would do and to the extent the
Interrogatory is vague, unclear and overly burdensome as written. Plaintiff

also objects to the extent that the information requested is specifically within

Defendant's knowledge and possession. Subject to and without waiving the

foregoing, Plaintiff explains that initially upon hire, she received compensation

for the pricing exceptions granted on loans made by loan officers that were

within NAF's stated tolerance.      Loan officers negotiated loans with potential

clients. To be competitive, a loan officer would ask Kelly Allison and sometimes

Gina Spearman to approve a pricing exception consistent with NAF's tolerance

and industry norms. It was NAF's customary practice and industry practice to

approve pricing exceptions in competitive situations so that loan officers could

close a loan. From November 2016 to February 2019, Kelly Allison approved

pricing exceptions consistent with NAF's industry norms. In addition, there

were loans each month that exceeded Defendant's tolerance and Plaintiff and

her Co- Regional Manager were not paid compensation on those loans. These
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loans are identified as Tier IV or Tier V loans on the "Monthly Recap ".
Defendant is in possession of the "\Ionthly Recap" reports for each month of

Plaintiffs employment that show the compensation she received on loans
through February 2019.

      Christy ßunce and Jon Reed notified Plaintiff in February of 2019 that

Defendant would no longer approve pricing exceptions at the same tolerance it

had previously approved pricing exceptions from November 2016 through

February 2019 and that Plaintiff and her Co- Regional Manager would he

required to absorb costs exceeding the new lower tolerance.          While the

tolerance was cut in half by Defendant, Plaintiff was still required to maintain

loan production at the sanie rate prior to February 2019. Thus, Plaintiff was

forced to absorb the pricing exceptions beyond the new lower tolerance
established by Defendant in February 2019 which was done in an attempt to

cover its 30-million-dollar shortfall.

      The Monthly Recap also demonstrates how Plaintiff's compensation was

reduced when NAF refused to approve pricing exceptions at the saune tolerance

it had before February 2019 and forced Plaintiff and her Co- Regional Manager

to absorb the related costs exceeding the new (lower) tolerance.

INTERROGATORY NO. 6: Describe in detail any personal funds that you

expended in connection with the Tennessee and Virginia markets during your


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employment with NAF (including the amounts and dates of each expenditure), and

identify all documents reflecting the expenditure of any such funds.

      ANSWER: Plaintiff states she expended her personal funds on the cost of

the Real Estate Partners Advertising agreement and Desk Rental as evidenced

by deductions in pay on the "Monthly Recap ". Plaintiff expended personal

funds on other recruiting and business development costs that were not
rc i nt bu rsed by Defendant.

INTERROGATORY NO. 7: Describe                 in detail the   facts supporting your

allegations in Paragraph 89 of the Amended Complaint regarding NAF's removal of

Tennessee and Virginia front Plaintiff's territory, including that NAF removed those

states (1) because it "bclicv[edj Ms. Spearman was planning to leave NAF "; and,

(2) to prevent Plaintiff from "recoup[ing] the costs of her personal investment in

developing NAF's presence in these states."

      ANSWER: Christy Bunce told Plaintiff and her Co- Regional Manager

on a phone call that the Sales Managers from the Tennessee and Virginia

Regions told Ms. Bunce (incorrectly) that they were leaving Defendant and

starting their own company. Thereafter, NAF removed these territories from

Plaintiff and her Co- Regional Manager just as they were about to be profitable.

These territories were removed just as loan production was increasing, which

Nsould allow Plaintiff to recoup her personal investment in these territories.
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INTERROGATORY NO. 8: Describe in detail any objections that Plaintiff

communicated to NAF regarding any aspect of Plaintiff's compensation during

Plaintiff's employment with NAF. For each communication reflecting any objection,

identify the participants to the communication, the date of the communication, the

substance   of each    communication,       and   any   documents   reflecting   the

communication.

      ANSWER: Plaintiff objects to this interrogatory as unduly burdensome

and not proportional to the needs of the case to the extent it requires Plaintiff

to identify every single conversation she had with NAF over the course of

several years. Subject to the foregoing, Plaintiff states that she objected to her

compensation on several occasions prior to February of 2019.                During

numerous verbal and email communications, Plaintiff and her Co- Regional

Manager told Christy Mince, Jon Reed, and Jan Presto that Plaintiff and her

Co- Regional Manager were not being paid per the ternis of their agreement.

Christy Bunce stated the agreements were confusing and needed to be re-
written. After the February 2019 Leadership meeting, when Plaintiff and her

Co- Regional Manager were verbally notified of changes to their compensation,

Jon Reed advised then they would receive an amended agreement which they

did not receive until March 1, 2020.

INTERROGATORY NO. 9: Describe in detail any communications Plaintiff had

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with NAF or its employees regarding the March 1, 2020 Amended Schedule 1. For

each communication, identify the participants to the communication, the date of the

communication, the substance of each communication, and any documents

reflecting, the communication.

      ANSWER: Plaintiff states that the only communication she had with

Defendant or its employees regarding the March 1, 2020 Amended Schedule I

included ninItiple phones calls and an in- person meeting with Jon Reed and

Scott Frommert in the months leading up to March 2020. Defendant is in

possession of Outlook calendar invites verifying these communications.
Plaintiff is also producing documents in response to Request for Production No.

2.

INTERROGATORY NO. 10: Describe in detail any communications Plaintiff had

with NAF or any third -party regarding Plaintiff's April 13, 2020 resignation from

NAF. For each communication, identify the participants to the communication. the

date of the communication, the substance of each communication, and any

documents reflecting the communication.

      ANSWER: Plaintiff objects to this Interrogatory on the grounds that it

seeks information protected by the attorney -client privilege and work product

doctrine. Subject to and without waiving the foregoing. Plaintiff did not discuss

her resignation with anyone at NAF or any third party prior to submitting her


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resignation. Plaintiff states Kelly Allison communicated with Plaintiff after she

submitted the resignation. While Plaintiff did not discuss her resignation with

Kelly Allison before submitting it, Plaintiff and Ms. Allison did have

conversations throughout the years leading up to Plaintiff's resignation about

NAF's failure to pay Override Bonuses, marketing costs and pricing exceptions

as promised and contracted for. Plaintiff recalls that several NAN employees

and loan officers texted her upon hearing about her resignation to thank her

for her leadership. tell her she will be missed, and wish her the best. Plaintiff

saved these texts.

INTERROGATORY NO. 11: Describe in detail any communications that you had

with Christy Bunce or any other NAF representative in connection with or regarding

the August 2018 email in which Christy Bunce allegedly admitted that NAF did not

discuss or change any of Plaintiffs compensation terms, as alleged in Paragraph 60

of the Amended Complaint. For each communication, identify theparticipants to the

communication, the date      of the communication,      the   substance   of each
communication, and any documents reflecting the communication.

      ANSWER: Plaintiff objects to this Interrogatory because it is overbroad

and unduly burdensome, and not proportional to the needs of the case, to the

extent that it calls for Plaintiff to describe "any communications" Plaintiff had

with Ms. Bunch "in connection with or regarding the August 2018 email in
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which Christy Bunce allegedly admitted that NAF did not discuss or change

any of Plaintiff's compensation terms ". Subject to the foregoing, Plaintiff is

producing responsive documents it in response to Request for Production No.

1.


INTERROGATORY NO. 12: With respect to the February 2019 Leadership

Meeting referenced in your Amended Complaint, identify the participants of that

meeting, what you were informed regarding any reductions or changes to your

compensation (including what was being changed and when), and who informed you

of any such changes to your compensation.

      ANSWER: Plaintiff and her Co- Regional Manager were notified by

Christy Bunce and .Ton Reed that Defendant had misallocated 30 million dollars

and was in financial hardship. Christy Bunce and Jon Reed, in turn, stated

Defendant would not pay any marketing costs regardless of NAF's agreement

and that Plaintiff and her Co- Regional would have to absorb pricing exceptions

over a new established tolerance effective immediately. Defendant is             in

possession of documents and communications that should identify the
individuals in attendance at this meeting. To the hest of Plaintiff's recollection,

Rick Arvielo, Patty Arvielo, Jon Reed, Christy Bunce, Jan Presto, Tony
Blodgett, Milt Ka ravites, Chris Garza Eli Fairfield, and Kelly Allison were

present at this meeting.


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INTERROGATORY NO. 13: Describe in detail Plaintiffs damages calculations,

including the calculations behind the allegations that Plaintiff has suffered damages

of (1) "$544,383.00 in unpaid Override Bonuses" as alleged in Paragraph69 of the

Amended Complaint; and (2) "$466,046.00 for certain Pricing Exceptions and

Marketing Costs that NAF improperly deducted from Ms. Spearman's pay" as

alleged in Paragraph 85 of the Amended Complaint.

      ANSWER: The calculations provided are derived from the "Monthly

Recaps" generated by Defendant. The excluded loans in which Plaintiff was not

paid an Override Bonus were totaled along with the deductions in Plaintiff's

compensation for Marketing Costs and Pricing Exceptions identified on these

spreadsheets. Plaintiff previously produced this detail in an email to Ken Block

and is producing it again in response to Defendant's Requests for Production.

INTERROGATORY NO. 14: Identify all facts that support Plaintiffs allegation
that NAF breached its contract with Plaintiff regarding Override Bonuses.

      ANSWER: Plaintiff objects to this Interrogatory because it is overbroad

and unduly burdensome, and not proportional to the needs of the case to the

extent that it calls for Plaintiff to identify facts that Plaintiff has already
meticulously described in the Complaint.           Plaintiff also objects to this

Interrogatory to the extent that it calls for a legal conclusion, attorney -client

information and work -product.         Plaintiff incorporates herein the facts


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 identified in Plaintiffs complaint that demonstrate that Defendant did not pay

 the compensation as set forth in Plaintiff's employment agreement.

 IN'T'ERROGATORY NO. 15: Identify all facts reflecting how NAF allegedly was

unjustly enriched by adjusting Plaintiffs compensation as to marketing costs and

Pricing Exceptions.

        ANSWER: Plaintiff objects to this Interrogatory because it is overbroad

and unduly burdensome, and not proportional to the needs of the case to the

extent that it calls for Plaintiff to identify facts already meticulously described

in the Complaint. Plaintiff also objects to this Interrogatory to the extent that

it calls for a legal conclusion, attorney -client information and work -product.

Subject to and without waiving the foregoing, Defendant expected Plaintiff's

Region to continue to close the same amount of production but chose to transfer

some of the expenses of that production to Plaintiff, personally, to increase the

profitability to the company and to compensate for NAF's misallocation of 30

million dollars. If Plaintiff had not paid for the Pricing Exceptions and
marketing costs personally, her Region's production would have been
significantly reduced.

INTERROGATORY NO. 16: Identify all facts reflecting how NAF allegedly was

unjustly enriched by removing Tennessee and Virginia from Plaintiff's market

territory.



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       ANSWER: Plaintiff objects to this Interrogatory because it is overbroad

 and unduly burdensome, and not proportional to the needs of the case to the

extent that    it   calls for Plaintiff to identify facts that Plaintiff has already
meticulously described        in   the Complaint.    Plaintiff also objects to this
Interrogatory to the extent that it calls for a legal conclusion, attorney- client

information and work- product. Subject to and without waiving the foregoing,

Plaintiff and her Co- Regional Manager paid for the start -up costs (e.g., desk

rental fee) and investments for these new territories when the production was

low, and they were not receiving a significant Override Bonus on this market.

At the time the territory had just begun to increase production, NAF removed

the territories from Plaintiff and her Co- Regional Manager preventing them

from earning the Override Bonus to offset their original investments. Jan Presto

discussed compensating Plaintiff for this loss of income, but that did not corne

to fruition.

INTERROGATORY NO. 17: Identify all persons (other than your legal counsel)

with whom you have discussed your disputes with NAF. For each such
communication, identify the participants to the conversation, when the conversation

allegedly occurred, and the substance of the conversation.

      ANSWER: Plaintiff objects to this Interrogatory on the grounds that it

seeks information protected by the attorney- client privilege and work product


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doctrine. Other than her counsel, Plaintiff discussed her disputes with Christy

Bunce, Jon Reed, Jan Presto, Kelly Allison and other officers of NAF prior to

resigning. The substance of the conversation concerned NAF's failure and

refusal to pay Plaintiff pursuant to the ternis of the employment agreement.

Bunce, Reed and Presto reaffirmed that NAF valued Plaintiff leading her

believe NAF would pay her as promised. Bunce, Reed and Presto did not

elaborate other than to reaffirm Plaintiff's value to NAF.

INTERROGATORY NO. 18: Identify each person you expect to consult with or

call at trial as an expert witness and, as to each person, state his or her field of

expertise, the subject matter on which he or she is expected to testify, and a summary

of the grounds for each opinion in accordance with Fed. R. Civ. P. 26(a)(2).

      ANSWER: Plaintiff has not determined the expert witnesses she intends

to call at trial. She will amend this response if, and when, appropriate pursuant

to the Federal Rules of Civil Procedure.

      Respectfully submitted this 12th day of July, 2021.

                                                    Is/ MaryBeth V. Gibson
                                                    MaryBeth V. Gibson
                                                    Georgia Bar No. 725843
                                                    Travis C. Hargrove
                                                    Georgia Bar No. 141374
                                                    N. Nickolas Jackson
                                                    Georgia Bar No. 841433

                                                    THE FINLEY FIRM, P.C.
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                                                     Counsel for Plaintiff

               LOCAL RULE 7.1 CERTIFICATE OF COMPLAINCE

      I hereby certify that the foregoing pleading filed with the Clerk of Court has
been prepared in 14 -point Times New Roman font in accordance with Local Rule
5.1(C).

Dated: July 12, 2021

                                                     /s/ MaryBeth V. Gibson
                                                     MARYBETH V. GIBSON


                             CERTIFICATE OF SERVICE

      I hereby certify that on July 12, 2021, a true and correct copy of the above and

foregoing was served, via electronic mail, on counsel for Defendant:

                                  Henry M. Perlowski
                              Henry.Perlowski@arm.com
                                   T. Chase Ogletree
                               Chase.Oeletree u,agjz.com
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                                                    /s/ MaryBellr V. Gibson
                                                    MARYBETH V. GIBSON

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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

 GINA SPEARMAN,

       Plaintiff
                                                Case No. l :20 -cv -0498 I -CAP
v.

BROKER SOLUTIONS, INC., d/b /a
NEW AMERICAN FUNDING,

       Defendant.


                    VERIFICATION OF GINA SPEARMAN

      I, Gina Spearman, verify under penalty of perjury pursuant to 28 U.S.C.

1746 that the facts contained in DEFENDANT BROKER SOLUTIONS, INC. d/b /a

NEW AMERICAN FUNDING'S FIRST SET OF INTERROGATORIES TO

PLAINTIFF GINA SPEARMAN arc true and correct according to the best of

knowledge, information, and belief

      Respectfully submitted this 12th day ofJuly, 2021.
                                               I
                                           .-EiINA SPEARMAN
